Case 1:20-cv-00125-GBW Document 323 Filed 09/09/21 Page 1 of 3 PageID #: 29810
Case 1:20-cv-00125-GBW Document 323 Filed 09/09/21 Page 2 of 3 PageID #: 29811
  Case 1:20-cv-00125-GBW Document 323 Filed 09/09/21 Page 3 of 3 PageID #: 29812



1410, 1434 (3d Cir. 1997). The Third Circuit has adopted a liberal approach to pleading amendments.
See Dole v. Arco Chem. Co., 921 F.2d 484, 486-87 (3d Cir. 1990). In the absence of undue delay, bad
faith, repeated failure to cure deficiencies by previous amendment, or dilatory motives on the part of the
moving party, amendment should be freely granted, unless it would be futile or unfairly prejudicial to
the non-moving party. See Foman, 371 U.S. at 182; In re Burlington, 114 F.3d at 1434. Each factor
favors permitting Defendants to amend at this early stage.

       C.      The Motion Is Not Unduly Delayed Or Prejudicial, And Is Made in Good Faith

         Natera cannot credibly contend that Defendants’ motion to amend is delayed, prejudicial, or not
in good faith. Defendants’ inequitable conduct defense stems from Natera’s June 24 and June 25 Patent
Office filings and discovery that was gleaned from depositions taken as soon as practicably possible
after Natera’s Patent Office filings. See ICU Medical, Inc. v. RyMed Technologies, Inc., 674 F. Supp. 2d
574, 576 (D. Del. 2009) (finding good cause when defendant’s motion to amend after pleading deadline
was based on a new set of facts obtained during discovery). Only two months passed from the time of
the first facts that gave rise to Defendants’ defense on June 24 and June 25 and the filing of this motion.
When one takes into consideration that inequitable conduct pleadings must satisfy the enhanced Rule
9(b) standard, there can be no dispute that Defendants acted diligently. Moreover, since the amendment
was sought without undue delay, it is not unduly prejudicial to Natera. Id. at 578–79. Natera cannot
possibly cry prejudice because it waited a year and a half into the case to make wholesale changes to its
inventorship group. Had Natera wished to avoid any alleged prejudice from its Patent Office filings, it
easily could have submitted its Petitions to correct inventorship far earlier. Finally, this motion is made
in good faith; Defendants’ amended answer is necessary only in response to Natera’s belated conduct
regarding inventorship of the ’482, ’814, ’172, and ’220 patents. The evidence cited in the complaint
overwhelmingly establishes the merits of Defendants’ inequitable conduct defense, and thus proves
good faith.

       D.      The Amendments Are Not Futile

         An amendment is futile only if it would not survive a motion to dismiss for failure to state a
claim upon which relief could be granted. See Alvitt v. Suzuki, 227 F.3d 107, 121 (3d Cir. 2000). The
amended answer here, however, includes detailed facts and allegations gleaned from at least 10
depositions substantiating inequitable conduct by Natera by its attempt to change inventorship. Because
it is a “critical requirement for obtaining a patent, inventorship is material.” PerSeptive Biosystems, Inc.
v. Pharmacia Biotech, Inc., 225 F.3d 1315, 1321 (Fed. Cir. 2000). The proposed amendments thus
cannot be deemed futile.

       For the foregoing reasons, Defendants respectfully request leave to amend their answer and
counterclaims to include a defense of inequitable conduct and corresponding counterclaims.


                                                         Respectfully submitted,

                                                         /s/ Brian E. Farnan

                                                         Brian E. Farnan
cc:   Counsel of Record (via E-0DLO)



                                                     3
